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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


JANE MILLER,                              :        NO.: 3:16-cv-00724 (VLB)
  Plaintiff                               :
                                          :
v.                                        :
                                          :
THOMAS DUNKERTON,                         :
  Defendant                               :        JULY 20, 2016


       DEFENDANT’S MOTION TO DISMISS / SUGGESTION OF MOOTNESS

      The defendant, THOMAS DUNKERTON, hereby moves pursuant to Fed. R.

Civ. P. 12(b)(1), to dismiss all claims by the plaintiff Jane Miller as set forth in her

Complaint dated April 27, 2016 [Doc. 1-2].

      As more particularly set forth in the accompanying memorandum of law

submitted in support of this motion, the plaintiff’s claims are now moot.

      WHEREFORE, the defendant, THOMAS DUNKERTON, respectfully requests

that his Motion to Dismiss be granted.

                                          DEFENDANT,
                                          THOMAS DUNKERTON


                                          By/s/ Katherine E. Rule
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                                 CERTIFICATION

       This is to certify that on July 20, 2016, a copy of the foregoing Motion to
Dismiss was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


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                                        /s/ Katherine E. Rule
                                        Katherine E. Rule




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